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Chapter      9

                     CHILD PORNOGRAPHY PRODUCTION CASES

        A.        BACKGROUND

       This chapter presents an analysis of data concerning sentencing trends, offense conduct,
offender characteristics, and victim characteristics in federal cases in which offenders were
sentenced under USSG §2G2.1 (Sexually Exploiting a Minor by Production of Sexually Explicit
Visual or Printed Material; Custodian Permitting Minor to Engage in Sexually Explicit Conduct;
Advertisement for Minors to Engage in Production) for producing child pornography
("production" cases or offenses).' Sentencing in federal production cases has been less
controversial than in non-production cases.^

        The number of production cases has grown substantially since 1992, as reflected in
Figure 9-1 below. In 1992, there were only ten production cases. During the past two decades,
the number of cases has risen steadily, with the largest increase appearing after 2006 (from 92
cases in 2006 to 207 cases in 2010). Even with this increase, production offenders constituted
only 0.25 percent of the federal offender population in fiscal year 2010. Figure 9-1 below also
compares the annual increase in the number of production cases to the number of non-production
cases — the latter divided into (1) receipt, transportation, and distribution ("R/T/D") cases and


   The data are derived from two sources: (1) routinely-collected federal sentencing data from the Commission's
regular annual datafiles of fiscal years 1992 through 2010; in limited instances, relevant data from fiscal year 2011
also are noted; and (2) the Commission's special coding project of production cases from fiscal year 2010. Fiscal
year 1992 was selected as the starting point for data analysis in order to correspond to the Commission's data
analysis of non-production cases. See Chapter 6 at 121 n.2. Relevant data in the Commission's regular datafiles
include basic demographics, criminal history, guideline applications, sentences imposed, application of specific
offense characteristics, and sentences relative to the guideline range. Data m the special coding project supplement
the armual datasets with more detailed information about offense conduct and offender characteristics. Of the 207
production cases in fiscal year 2010, as many as ten were excluded from some of the data analyses that appear in
this chapter because of insufficient sentencing documentation. In some analyses, where relevant information from
all 207 cases was available (e.g., annual number of cases), all 207 cases were included. The specific numbers of
cases that were considered in each analysis are noted below in the figures.

^ Cf. Chapter 1 at 10—14 (discussing the criticisms of the non-production sentencing scheme). A small number of
courts have been expressly critical of the production guideline, USSG §2G2.1. See, e.g.. United States v. Price,
2012 U.S. Dist. L E X I S 38397, at *33 ( C D . 111. Mar. 21, 2012) (engaging in a variance from the guideline range
recommended by application of §2G2.1, but observing that courts have been more critical of USSG §2G2.2 than of
§2G2.1); United States v. Jacob, 631 F. Supp. 2d 1099,1115 (N. D. Iowa 2009) ("USSG §2G2.1 has some of the
same flaws that I fotmd warranted categorical rejection of U S S G §2G2.2 [i.e.,... it does] not distinguish between
least and worst offenders . . . and [gives] excessive weight to some otherwise proper factors.... Thus, I fmd that
USSG §2G2.1 can be rejected on categorical, policy grounds."). These courts appear to represent a minority of
federal judges. The Commission's 2010 survey of federal district judges revealed that the vast majority of judges
surveyed stated that the guideline and statutory penalty ranges in production cases were appropriate as a general
matter. See U.S. SENT'G COMM'N, RESULTS OF SURVEY OF UNITED STATES DISTRICT JUDGES, JANUARY 2010
THROUGH MARCH 2010, Questions 1 and 8 (June 2012) (67% of judges responded that the mandatory minimum
statutory penalties for production offenses were generally appropriate and 72% responded that the guideline ranges
for production offenses were generally appropriate). Nevertheless, as discussed below, in the past two years, the
percentage of below range sentences has noticeably increased in production cases (albeit well below the equivalent
rate in non-production cases). See infra at 254.


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(2) possession cases. In fiscal year 2010, production cases constituted 10.8 percent of all types
of federal child pornography cases (207 of 1,924 cases).^



                                                Figure 9-1
                                  Child Pornography Production Cases
                                         Fiscal Years 1992-2010
                   Niunbcr
                                 -o-Production Cases   -•-RT/D Cases   -e Possession Cases
                    1000 7                                                  '




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                              92 93 M 95 96 97 9« 99 00 01 02 03 04 05 06 07 08 09 10

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        B.       PENAL STATUTES AND GUIDELINE PROVISIONS CONCERNING PRODUCTION

        It was not until the 1970s that significant efforts were made to combat the production of
child pornography in the United States. Congress enacted the Protection of Children Against
Sexual Exploitation Act of 1977, which was the first federal law outlawing the production of
child pornography.^ That penal statute had no mandatory minimum penalty and a maximum
penalty of ten years of imprisonment.'' Federal prosecutions for production offenses were rare




^ Production cases occurred in all 12 federal circuits in fiscal year 2010. Because the annual voliune of production
cases is small and the number of cases brought in any particular district or circuit may differ significantly year by
year based on the marmer m which offenders are apprehended, an analysis of geogiaphical distribution of production
cases is not mcluded in this chapter. Compare Chapter 6 at 127-29 (analysis of geographic distribution of the 1,654
non-production cases in fiscal year 2010). For instance, in fiscal year 2010, the District of Maryland, which had five
production cases, was not among the top five districts in terms of the number of production cases. In fiscal year
2011, however, the District of Maryland had 15 production cases, which was the highest number among all 94
districts.
" See U.S. Dep't of Justice, FINAL REPORT OF THE ATTORNEY G E N E R A L ' S COMMISSION ON PORNOGRAPHY 599
(1986) ("MEESE REPORT").
' Pub. L. NO. 95-225,92 Stat. 7 (Feb. 8, 1978) (codified as amended at 18 U.S.C. § 2251).
'Id


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during the next decade/ Over the next two decades, Congress repeatedly increased the penalty
range for production offenses, culminating with the PROTECT Act of 2003,* which created the
15-year mandatory minimimi and 30-year statutory maximum penalties currently in effect.'
Defendants with predicate convictions for sex offenses are subject to increased minimum and
maximum penalties.*"

        The sentencing guideline for production offenses is §2G2.1, which was part of the
original 1987 guidelines. Section 2G2.1 initially provided for a base offense level of 25 and had
a single specific offense characteristic (a 2-level increase if a minor under the age of 12 years
was used in the production).'' Over the years, the Commission increased the base offense level
and added additional enhancements, usually as a result of congressional directives. Section
2G2.1 has been amended 13 times since it became effective on November 1, 1987, with several
amendments resulting in an increase in the minimum of the applicable guideline range. For
exeimple, in 1996 the Commission implemented directives in the Sex Crimes Against Children
Prevention Act of 1995'^ by increasing the base offense level in §2G2.1 from 25 to 27 and
adding a 2-level increase if the offense involved the use of a computer.'^ As another example, in
2004 the Commission implemented directives in the PROTECT Act by increasing the base
offense level from 27 to 32, and by adding separate enhancements for offenses that involved the
commission of a sexual act or contact, aggravated sexual abuse, or material portraying sadistic or
masochistic conduct or other depictions of violence.'''

        The current production guideline, which went into effect on November 1, 2004, has a
base offense level of 32 and six specific offense characteristics with various enhancements.'^
Those enhancements are for: (1) producing child pornography with minors under 16 or imder 12
years of age (2- or 4-level enhancements); (2) engaging in certain types of "sexual conduct" or
"sexual acts" with a minor, including sexual acts under aggravating circumstances such as an
unconscious victim (2- or 4-level enhancements);'* (3) distribution of child pornography (2-level


' MEESE REPORT, supra note 4, at 604 ("The production of child pornography is so clandestine in character that
from 1978 to 1984 only one person had been convicted under that portion of the 1977 Act."); id. at 606 (noting that
there were "few indictments" under the federal production statute from 1984-86).
* Pub. L . No. 108-21, § 103,117 Stat. 650, 653 (2003).
' 5ee 18 U.S.C. § 2251(e).
   Id. (defendants with one predicate conviction are subject to a 25- to 50-year range, and defendants with two
predicate convictions face a range of 35 years to life imprisonment). Production offenders with a predicate
conviction for a sex offense involving a victim 16 years old or younger are subject to a mandatory sentence of life
imprisonment without parole under 18 U.S.C. § 3559(c). Predicate sex offenses arc discussed in Chapter 2. See
Chapter 2 at 24.
" USSC§2G2.1 (1987).
  Pub. L . No. 104-71, §§ 2-3, 109 Stat. 774 (1995).

" USSG App. C , amend. 537 (Nov. 1, 1996).

  USSG App. C , amend. 664 (Nov. 1, 2004).

   The current version of the production guideline is set forth in Appendix B.
   The guideline defines "sexual act" as vaginal or anal intercourse with a minor victim of any age; penetration of
the vagina or anus of a victim of any age with a finger or object; or sexual touching, other than through the clothing.

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enhancement); (4) producing child pornography that depicts sadistic or masochistic conduct or
violence (4-level enhancement); (5) using a minor who was a relative or otherwise in the care of
the defendant (2-level enhancement); and (6) either misrepresenting the defendant's identity or
using a computer for the purpose of enticing a minor or otherwise facilitating the offense (2-level
enhancement).'^ In addition, the guideline provides that "[i]f the offense involved the
exploitation of more than one minor," a court should apply the guidelines' multi-count rules in
USSG §§3D1.1 through 3D 1.5 "as if the exploitation of each minor had been contained in a
separate count of conviction," even if the indictment only contained a single production count.
Thus, in a production case involving multiple victims, a defendant's base offense level could be
increased even if he were convicted of only a single count of production.'^

       Under a cross reference provision in §2G2.2, the non-production guideline, a defendant
who produced child pornography but who was only convicted of a non-production offense (such
as possession or distribution) should be sentenced under §2G2.1 rather than rmder §2G2.2, if the
former yields a higher sentencing range than the latter guideline.^*' In such a case, the statutory
maximum punishment may be lower than the otherwise applicable guideline range.^'

        Only offenders sentenced under §2G2.1 as their "primary guideline" (i.e., the guideline
yielding the highest guideline range) are considered as "production" offenders in this chapter.
Some offenders convicted of production of child pornography imder section 2251 in fiscal year
2010 also were convicted of non-production offenses {e.g., distribution of child pornography)
and had higher guideline ranges under a non-production guideline, which became their primary
guideline. In fiscal year 2010, 11 offenders convicted of production offenses had guidelines
other than §2G2.1 as their primtiry guideline. Of those 11 offenders, ten were sentenced under



of the genitalia of a person under 16 years of age. It defines "sexual contact" as the sexual touching, whether or not
through the clothing, of the victim's genitalia, anus, breasts, groin, inner thigh, or buttocks of a minor under 18 years
old. See USSG §2G2.1, comment, (n.2) (incorporating the definitions set forth in 18 U.S.C. § 2256(2) & (3)).
" See USSG §2G2.1(b)(l)-(b)(6) (2011). Henceforth, in this chapter, all citations to §2G2.1 will be to the 2011
version unless otherwise noted.
  U S S G §2G2.1(d)(1). The multi-count guidelines are USSG §§3D1.1 (Procedures for Determining Offense Level
on Multiple Counts), 3D 1.2 (Groups of Closely Related Counts), 3D 1.3 (Offense Level Applicable to Each Group of
Closely Related Counts), 3D1.4 (Determining the Combmed Otfense Level), and 3D1.5 (Determining the Total
Punishment).
" See. e.g.. United States v. Peck, 496 F.3d 885, 890 (8th Cir. 2007) (noting that the defendant, who was convicted
of a single count of production, received a 3-level increase in his offense level under USSG §2G2.1(d)(1) because of
multiple victims in his case).
   USSG §2G2.2(c)(l).
^' See subsection (a) of USSG §5G1.1 (Sentencuig on a Single Count of Conviction) ("Where the statutorily
authorized maximum sentence is less than the maximxmi of the applicable guideline range, the statutorily authorized
maximum sentence shall be the guideline sentence."). In 2010, in the case of a production offender convicted of a
single count of possession, his guideline sentence under USSG §2G2.1 could be no more than 120 months, the
statutory maximum penalty for possession then applicable (where the offender did not have a predicate conviction
for a sex offense). See Chapter 2 at 26 & n.39. In the case of a production offender convicted of a single count of
an R/T/D offense, his guideline sentence under §2G2.1 could be no more than 240 months, the statutory maximum
penalty for an R/T/D offense (where the offender did not have a predicate conviction for a sex offense). See id.


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the non-production guideline (§2G2.2) as their primary guideline. ' Because the non-production
guideline was the primary guideline in their cases, those offenders are treated as "non-
production" offenders and are analyzed in Chapters 7 and 8 along with other §2G2.2 offenders."^

        The vast majority of offenders whose primary guideline was §2G2.1 (171 of 204, or
^?>.'i%f* were convicted under 18 U.S.C. § 2251 for production offenses. Of those 171
offenders, 162 were subject to mandatory minimum penalties of 15 years of imprisonment or
more under the version of that statute in effect since the PROTECT Act, while eight were subject
to a ten-year mandatory minimum under the version of the statute in effect immediately before
the PROTECT Act went into effect. One of the 171 offenders was convicted of an earlier
version of section 2251 that did not carry a mandatory minimum penalty. Eight of the 171 had
one or more predicate sex convictions and received mandatory minimum penalties higher than
 15 years; three of those eight offenders had predicate sex convictions involving minor victims
under 17 years old and received sentences of life without parole under 18 U.S.C. § 3559(e).

        Of the 33 offenders sentenced under §2G2.1 in fiscal year 2010 who were not convicted
of production under section 2251, all were cross-referenced to the production guideline from
another guideline based on the court's finding that the offender produced child pornography in
relation to his offense of conviction. Those 33 included:

         •        four convicted of promoting (or conspiracy to promote) child prostitution;^^

         •        six convicted of travel or enticement offenses;^^

         •        23 convicted of non-production child pornography offenses (ten of whom were
                  convicted of possession and 13 of whom were convicted of R/T/D offenses).




   The eleventh offender was convicted of obstruction of justice in connection with his successfiil destruction of
sexual images that he had sohcitedfi^oma minor and sentenced pursuant to USSG §§2J1.2 (Obstruction of Justice)
(with a cross reference to 2X3.1 (Accessory After the Fact)) as the primary guideline.
   As discussed in Chapter 7,127 of the 1,654 offenders sentenced under the non-production guidelme (USSG
§2G2.2) in fiscal year 2010 committed production offenses in addition to their non-production offenses. See
Chapter 7 at 181 (Table 7-1). Six of those offenders had prior state or federal convictions for production that did not
qualify as relevant conduct in their non-production prosecutions, and ten were contemporaneously convicted of a
federal production offense along with their non-production offense. The remaining 111 offenders were never
convicted of their production offenses and were sentenced under §2G2.2 based on their convictions of non-
production offenses.
  Three of the 207 USSG §2G2.1 cases in fiscal year 2010 analyzed by the Commission did not have sufficient
documentation to allow for analysis of the most serious offense of conviction.
  S e e l 8 U . S . C . § 1591. One of those offenders was convicted of conspiracy to promote child prostitution under 18
U.S.C. § 3 7 1 .
   Travel and enticement offenses are discussed in Chapter 2. See Chapter 2 at 30. One of those six offenses was a
violation of 18 U.S.C. § 2425 (use of interstate facilities to transmit information about a minor). An element of that
offense is transmitting such information for purpose of enticing a minor under 16 years of age to engage in illegal
sexual activity. See 18 U.S.C. § 2425.


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       Figure 9-2 shows the most serious offense of conviction for production cases sentenced
under §2G2.1 in fiscal year 2010."




                                                         Figure 9-2
                                        Production Cases: Most Serious Conviction
                                                 Fiscal Year 2010 (N=204)
                                                                                                     Child Prostitution
                                                                                                      Related Offemr
                                                                                                           2.0%
                                                                                                           .N"4

                                                                                                                   Tnivcl/Enticement
                                                                                                                        Offense
                                                                                                                          2.9%
                                                                                                                          N=6




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        C.       ANALYSIS OF SENTENCING DATA

       The following analysis of sentencing data in production cases generally does not extend
beyond fiscal year 2010.^* However, in two analyses — concerning (1) the rate of below range
sentences and (2) the difference between the average bottom of the guideline range and average
sentence — this chapter also notes data from fiscal year 2011 because significant changes



   Some production offenders were convicted of more than one type of sex offense {e.g., a production offense and
an enticement offense) or were convicted of a non-production sex offense {e.g., distribution of child pornography)
and were cross-referenced to USSG §2G2.1. Only the most serious offense of conviction per case is depicted in
Figure 9—2. The order of seriousness, in descending order, is as follows: (1) production; (2) child prostitution
related offenses; (3) travel/enticement offenses; and (4) non-production offenses. The order of the ranking is based
on the severity of the statutory mandatory minimum and maximum sentences for offenders who have no predicate
convictions for sex offenses. See 18 U.S.C. § 1591 (child prostitution/sex trafficking offenses, dependmg on the
manner in which they are committed, have a range of punishment fi-om a minimum often or 15 years to a maximum
of life imprisotmient); 18 U.S.C. § 2251 (child pornography production offenses have a range of punishment from
15 years to 30 years of imprisonment); 18 U.S.C. § 2422 (enticement offenses, depending the manner in which they
are committed, have a range of punishment of zero to ten years or ten years to life imprisonment); 18 U.S.C. § 2423
(travel offenses have a general range of punishment of zero to 30 years of imprisonment, unless the victim is under
12, when a defendant is subject to a 30-year mandatory minimum penalty under 18 U.S.C. § 2241(c)). As discussed
in Chapter 2, in 2010, the penalty ranges for non-production offenses were either zero to ten years of imprisonment
(for possession offenses) or five to 20 years (for R/T/D offenses). See Chapter 2 at 25-26.
  Such analysis is consistent with the Commission's analyses of non-production cases in Chapter 6, which
generally do not extend beyond fiscal year 2010 data. See Chapter 6 at 121, 152.


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occurred during that one-year period. A l l other data analyses do not extend beyond fiscal year
2010 data because there were no notable changes in fiscal year 2011 data.

       During the past two decades, average sentences for production offenses consistently have
been longer than average sentences for non-production offenses (both possession offenses and
R/T/D offenses). Average sentences consistently have increased over time for all types of child
pornography offenses, as shown in Figure 9-3.



                                                Figure 9-3
                                 Child Pornography Sentences Over Time
                                         Fiscal Years 1992-2010
                     Months             -Production                        -Possession
                      300

                      250

                      200

                      150

                      100




                              92 93 94 95 96 97 98 99 00 01 02 03 04 05 06 07 08 09 10
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        Average prison sentences for production offenses increased from 63.5 months in 1992 to
153.4 months in 2004, the year after the PROTECT Act was enacted. As more offenders
thereafter were subject to the increased penalty provisions in the PROTECT Act, sentences
continued to increase, and by 2009 average sentences hit their high point (282.9 months).
Average sentences decreased slightly in fiscal year 2010 (267.1 months).^

        All production offenders sentenced in fiscal year 2010 received a term of imprisonment
as part of their sentences. This has been a relatively consistent trend since 1992, when 90
percent (9 of 10) received prison only sentences, and one offender received a sentence of
probation. By 2010, all production offenders received custodial sentences of prison only.^*^



   The above reported average sentences for fiscal years 2009 and 2010 include a small number of cases in which
offenders were sentenced under pre-PROTECT Act versions of the applicable sentencing guidelines and penal
statutes (which increased in severity after the P R O T E C T Act went into effect).
  B y comparison, for all federal offenders in fiscal year 2010, the prison only rate was 87.4%, followed by much
smaller rates for probation only (7.3%), probation with some form of community confinement (2.8%), and
imprisonment and some other type of confinement (2.5%).


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        Figure 9-4 below shows sentences in production cases in relation to the applicable
guideline ranges during the period of fiscal year 1992 through fiscal year 2010.^' For production
offenses, in 1992, 88.9 percent (8 of 9 cases) were sentenced within the range and 11.1 percent
were sentenced above the range; none received below range sentences.^^ The within range rate
fluctuated for several years, and by fiscal year 2004, 84.0 percent (79 of 94) of offenders were
sentenced within their applicable guideline ranges, with small percentages of offenders receiving
sentences above or below their ranges (including below the range based on substantial assistance
to the authorities). Following United States v. Booker^^and its progeny,^'* the within range rate
steadily dropped, and, by fiscal year 2010, the within range rate for production cases was 56.8
percent (109 of 192 cases), while the below range rate (excluding substantial assistance
departures) increased to 35.9 percent (69 of 192 cases). The within range rate continued to
decrease in fiscal year 2011, when 50.4 percent (114 of 226) of offenders were sentenced within
the applicable guideline range and 38.1 percent of offenders (86 of 226) received below range
sentences for reasons other than substantial assistance. By comparison, in non-production cases
in fiscal year 2011, the within range rate was 32.7 percent, while the below range rate (excluding
substantial assistance departures) was 62.7 percent.^^




                                                     Figure 9-4
                                     Within Range and Out of Range Sentences:
                                               Production Offenses
                                              Fiscal Years 1992-2010




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^' Figure 9-3 uses a format that allows comparison of pre- and post-Booker cases; it shows within range sentences,
cases in which offenders received downward departures under USSG §5K1.1 for substantial assistance, all other
government and non-government sponsored below range sentences, and above range sentences.
   Relevant documentation concerning one of the ten production cases was missing. Thus, this data analysis is
limited to the nine remaining cases. The incomplete documentation for that offender's case shows that he received
probation.
   543 U.S. 220 (2005).
   See, e.g.. Gall v. United States, 552 U.S. 38 (2007); Kimbrough v. United States, 552 U.S. 85 (2007).
" See U.S. SENT'G COMM'N, SOURCEBOOK OF FEDERAL SENTENCING STATISTICS 80 (2011) (Table 28).


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        While the within range rate in production cases has been steadily decreasing since
Booker, average sentences in production cases continued to increase until fiscal year 2010, when
they slightly decreased (as reflected in Figure 9-3 above). The increase in average sentences,
despite a decreasing rate of within range sentences since Booker, is explained by two trends: (1)
increasing average guideline minimums in the past few years (as reflected in Figure 9-6 below);
and (2) the significant number of sentences in production cases (40.5% in fiscal year 2010) at or
above the middle of the applicable guideline ranges (including upward departures or variances
above the applicable ranges).^^

        Figure 9-5 below shows sentences within and outside the guideline range between fiscal
years 2005 and 2010. Beginning in fiscal year 2005, the Commission changed the manner in
which it reported sentencing data in response to Booker?^ Since then, below range sentences are
reported as (1) government sponsored below range sentences based on an offender's substantial
assistEince (pursuant to USSG §5K1.1 (Substantial Assistance to Authorities (Policy Statement)),
(2) other government sponsored below range sentences, or (3) non-government sponsored below
range sentences. Both non-§5Kl .1 government sponsored below range sentences and non-
government sponsored below range sentences increased in production cases after Booker. In
fiscal year 2005, 3.7 percent of production offenders received a non-§5Kl .1 government
sponsored below range sentence, and 18.4 percent received a non-government sponsored below
range sentence. By fiscal year 2010, 12.0 percent of offenders received non-§5Kl.l government
sponsored below range sentences, and 24.0 percent received non-government sponsored below
range sentences.

        Of the 200 fiscal year
                                                                            Figure 9-5
2010 production cases for                                   Within Range and Out of Range Sentences:
which sufficient                                                      Production Oflenses
documentation existed, courts                                        Fiscal Years 2005-2010
                                                   Within Range <a.Above Range o - J S K l 1 -»-Gov^ Sponsored Below .s-Odin Below
downwardly varied or                           Percentage
departed in 70 cases (35.0%)                     100 T —

for reasons other than
substantial assistance. As
reflected on the statement of
reasons forms, the three
primary reasons given by
courts for varying or departing
downwardly were: (1) a
variance based on the "nature
and circumstances of the
offense [and/or] the history


   Of the 200 production cases in fiscal year 2010 that included complete documentation, 81 (40.5%) involved
sentences at the mid-point or higher of the applicable guideline ranges (including ten cases involving upward
depai-tures or variances above the applicable ranges). Conversely, of all fedeial cases in fiscal year 2010 with
complete docimientation, 18.1% of cases involved sentences at the mid-point or higher of the ranges (including
upward departures or variances).
   This change took effect for cases sentenced since January 12,2005, the date of the Booker decision. As a result,
fiscal year 2005 is reported as the partial year from January 12, 2005 through September 30, 2005.


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and characteristics of the defendant" under 18 U.S.C. § 3553(a)(1) (53.5%); (2) a departure^** or
variance based on the overrepresentation of a defendant's criminal history score (18.0%); and (3)
a variance based on the defendant's mental or emotional conditions (18.0%).

        Figure 9-6 below shows the average length of the term of imprisonment imposed
compared to the average bottom of the applicable guideline range in production cases from fiscal
years 1992 through 2010. Also indicated are key periods: the Koon era, the PROTECT Act
period, the Booker era, and the Gall period.^' As Figure 9-6 demonstrates, average prison
sentences in production cases largely tracked the average guideline minimums, with average
sentences shghtly above the average guideline minimums from 1996 through 2005, and very
close to the average guideline minimums until fiscal year 2010, when the average sentence
(267.1 months) fell slightly below the average guideline minimum (281.0 months).



                                                 Figure 9-6
                             Average Guideline Minimum and Sentence Imposed:
                                            Production Offenses
                                          Fiscal Years 1992-2010
                     •MoBlhs       M Arnw Swltnc 1 Bonom of GMtOu R a i ^
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                    200                                                                 \M




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                      1992      1994      1996       1998      20Q0      2002      2004      200«      2008
                   NM: Ai«w     l<a«kis ikonas n«i(>M3lpna9a»m«>J«^
                   SOURCE: USSMasxCoMassw 19»2-2010£hB«k.liSSCFrS2.1O.



       In fiscal year 2011, the trend continued, with the gap between the average sentence and
the average guideline minimum increasingly slightly. In fiscal year 2011, the average guideline
minimum was 291.0 months, while the average sentence imposed was 274.0 months.

       Figure 9-6 should be contrasted with Figures 6-7 £ind 6-8 in Chapter 6, which show a
more pronounced and growing gap between the average guideline minimum and average
sentence imposed in non-production cases during the same time period.''"


  5ee USSG §4A1.3(b).
^' These periods (and the above-mentioned U.S. Supreme Court decisions and P R O T E C T Act upon which they are
based) are discussed in Chapter 6. See Chapter 6 at 123-24.
  See id at 135.


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       In fiscal year 2010, in production cases in which a below-range sentence was imposed,
the average extent of non-government sponsored downward departures and variances — as
expressed in the difference in percentage between the average guideline minimum and average
sentence imposed in cases receiving below-range sentences — was 24.5 percent (or an average
reduction of 64 months); the average extent of government sponsored downward departures and
variances (other than for an offender's substantial assistance) was 29.1 percent (or an average
reduction of 93 months). In fiscal year 2011, in production cases in which a below-range
sentence was imposed, the average extent of non-government sponsored downward departures
and variances was 20.9 percent (or an average reduction of 62 months); the average extent of
government sponsored downward departures and variances (other than for an offender's
substantial assistance) was 27.6 percent (or an average reduction of 75 months).

       Thus, the growing gap in the difference between the average guideline minimums and
average sentences imposed in fiscal years 2010 and 2011 is explamed by the increased rate of
below range sentences rather than by an increased extent of departures and variances.
Furthermore, as noted above, the widening of the gap is somewhat tempered by the substantial
number of sentences in production cases at or above the middle of the applicable guideline
ranges (including upward departures and variances above the applicable ranges).

        D.       OFFENDER AND OFFENSE CHARACTERISTICS

        This section discusses offender and offense characteristics based on data derived fi-om
both the Commission's regular datafile from fiscal year 2010 and the special coding project of
fiscal year 2010 production cases.

                  1.       Offender Characteristics

        Production offenders, like non-production child pornography offenders, are a relatively
homogenous group demographically compared to federal offenders generally.'" Among
production offenders in fiscal year 2010, the overwhelming majority were male (97.0%), white
(85.9%), and United States citizens (97.0%). The average age of production offenders was 41
years — one year younger than non-production offenders but six years older on average than
federal offenders generally.'*^

        Also, like non-production offenders, production offenders on average occupy a higher
socio-economic status than federal offenders generally.'*^ In fiscal year 2010, 87.7 percent of
production offenders were high school graduates, and 46.7 percent had at least some college. In
fiscal 2010, among all federal offenders, the typical offender was not a high school graduate
(51.4%), and only 19.9 percent of offenders had at least some college education. There was a
high degree of employment among child pomography production offenders at the time of their
arrests. Of the 197 production offenders sentenced in 2010 for which there was employment
data, 76.1 percent were employed. Only 15.2 percent were unemployed, and 8.7 percent were

  See id. at 142 (noting that the vast majority of non-production offenders are white male U.S. citizens).
'^^ See id. at 143 (average age of non-production offenders in fiscal year 2010 was 42 years old).
   See id. at 162-63 (comparing education, employment status, and net worth of non-production offenders to federal
offenders generally).


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not part of the work force because they were retired or either physically or mentally disabled.
Production offenders slightly differed in one respect from non-production offenders
economically: a majority of production offenders had negative net worth (56.1%) at the time of
the presentence investigations in their cases, compared to slightly less than half (47.5%) of non-
production offenders.'*^ Tables 9-1 (a) and 9-1 (b) summsirize the chfiracteristics of production
offenders.


                                                                   Table 9-l(a)
                                                        Production Offender Characteristics
                                                                 Fiscal Year 2010



                                     UWadSulei                                                                       97.0
                                     Otm                                                                             30
                                 Gtutn
                                     Mile                                                                            97J0
                                     Faufe                                                                           3.0
                                 bx               '      '
                                     Vhitt                                                                           SS9
                                     Bbdi                                                                            «.«
                                     HiqiBic                                                                         7.0
                                     Ota                                                                              1.0
                                 Ag.                                                                                                  41

                       Ndtt: Of Am 207 l a a i b d n CMM m fiical T M 3010. » - M « m n d M M
                       SOURCE. U S . S < > i M : i u c C < « n ^ s ^ S ) l « D > u f i k . U S 5 C r V 1 0 .




                                                                    Table 9-l(b)
                                                         Production Offender Characteristics
                                                                  Fiscal Year 2010



                                      LtndimHitliSdioolCfail                                                                  12.3
                                                                                                                              na
                                      SanrCoIksc                                                                              31 3
                                                                                                                               15.4

                                      Employedtotone opacijr                                                                  70.1


                                    KaMiPkyiicaay or M n o l r D i s ^                                                         1.7
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                                      SOtoS>,90!>                                                                             M3>
                                                                                                                               10.^
                                      MoKtliaiSlOO.OOO                                                                         6A

                        sovsa. iis.s                           •>a».»»i>ins..csscn-igaidFnocuinn



   That difference could be explained in part by the fact that a much larger percentage of production offenders were
detained without bail before their sentencing hearmgs (93%) than non-production offenders (57%) — and, thus,
lacked employment opportunities and may have lost assets such as houses or cars.


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       With respect to reported histories of sexual abuse during production offenders' own
childhoods, 29.4 percent (58 of 197) reported actual or possible sexual abuse.'^^ By comparison,
17.7 percent of non-production offenders (293 of 1,654) reported that they had been or may have
been sexually abused as a child.'**

        Among fiscal year 2010 production offenders, 43.4 percent reported a history of
substance abuse.'*^ That figure is higher than the prevalence rate of substance abuse among non-
production offenders (35.5%) but appears comparable to, or perhaps even lower than, the rate for
federal offenders generally (which appears to be over 50%). ^

         With respect to criminal history, production offenders also differ from the average federal
offender and more closely resemble non-production offenders. As reflected in Figure 9-7 below,
in fiscal year 2010, 77.0 percent of production offenders (154 of 200) were in Criminal History
Category I . The criminal histories of production offenders are similar to the criminal histories of
non-production offenders — 81.1 percent of R/T/D offenders and 82.2 percent of possession
offenders were in Criminal History Category I.'*^ Figure 9-7 below shows the distribution of the
various criminal history categories for production offenders in fiscal year 2010. By contrast,
43.9 percent of all federal offenders were in Criminal History Category I .


                                                  Figure 9-7
                                     Production Offender Cliaracteristics:
                                         Criminal History Category
                           Pc^tsgc        Fiscal Year 2010 (N=200)
                             100                                               •
                              90




  Of those 58 offenders, 12 (20.7%) had their reports of abuse verified by other sources {e.g., offenders' family
members).
^ See Chapter 6 at 156. As discussed in Chapter 6, the prevalence rate of childhood sexual abuse in the general
population is approximately one in six males. See id. Although the fiscal year 2010 production offenders reported
histories of childhood sexual abuse at a rate twice of that of the general population, caution should be exercised in
making any inferences from the Commission's data. The numbers of production offenders studied was small (207),
and the number of PSRs diat contained any type of verification of the offenders' self-reports was small (20.7%).
  Of those 85 offenders, 50 (58.8%) had verified histories of substance abuse.
  5ee Chapter 6 at 185 n.85.
  See id at 143.


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        Of those production offenders with criminal histories, the vast majority had convictions
for sexual contact offenses against adults or children. Of the 197 production offenders for whom
relevant sentencing documentation existed, 17.3 percent (34 of 197) had a prior conviction for a
sex offense. Of those 34 offenders, 23 (67.7%) had a prior contact sex offense against a child
and another 4(11.8%) percent had a prior contact sex offense against an adult.

        As discussed in Chapter 2, USSG §4B1.5 (Repeat and Dangerous Sex Offenses Against
Minors) contains two alternative enhancements for certain production offenders' prior criminal
conduct.^" Section 4B 1.5(a), which applies if an offender has one or more predicate convictions
for a sex offense, provides for enhanced minimum offense levels for production offenders (either
level 34 or level 37, depending on the number of an offender's predicate convictions for sex
offenses) and a minimum of Criminal History Category V. I f an offender's final offense level or
criminal history category resulting from a guidelines determination before application of
§4B 1.5(a) exceeds those in §4B 1.5(a), then no additional enhancement would apply. Section
4B1.5(b), which applies i f §4B1.5(a) does not apply and if an offender engaged in a "pattern of
activity involving prohibited sexual conducf' (whether or not such a pattern resulted in a prior
conviction), results in a 5-level enhancement in addition to any enhancements in the specific
offense characteristics of §2G2.1. Of the 192 fiscal year 2010 §2G2.1 cases governed by the
2004 or later versions of the guideline and for which the Commission had sufficient
documentation, eight offenders (4.2%) received enhanced sentences under §4B 1.5(a), and 44
offenders (22.9%) received enhanced sentences under §4B1.5(b). The average sentence for the
§4B 1.5(a) offenders was 357 months, while the average sentence for the §4B 1.5(b) offenders
was 351 months.

                2.          Offense Characteristics

       Section 2G2.1 contains a number of enhancements in specific offense characteristics that
can substantially raise an offender's guideline range. Figure 9-8 shows the application rates of

                                                           Figare 9-8
                                                      Production Cases:
                                      Application of the Speciflc Offense Characteristics
                            Pcrctnage               Fiscal Years 1992-2010
                                     -^-VicliB Under 16     H»«llEiiilti     VKlm't C^nBkn   ldaiM7Miiiqi«iei»alio<>C(mp<i*rUte




                                     92 9i 94               96 97 98 99 00 01 02 03 04 05 06 07 OS 09 10
                            >WTT»"V.d»...A»ir^i.p»vi«l>i»UAd»t«U,dirtmi.i.iii<l«..Trt«t>tUil3y^

                            S 0 L 1 C I : [;.S.SaiBdvCoimMMo.tf92-30iaDMafiKUUCfV92-10




  See Chapter 2 at 37-38.


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three enhancements that have been in the guideline for over a decade.^' The first enhancement,
for production involving a minor under the age of 12 years old or a minor between the ages of 12
and 16 years old, involves a 4- or 2-level increase depending on the age of the victim (presently
§2G2.1(b)(1)). This enhancement has existed in some form since the inception of the production
guideline in 1987, when it applied only to minors under 12 years of age. The enhancement was
expanded three years later also to cover minors between 12 and 16 years of age. Since 1996, this
enhiincement has consistently applied in approximately 90 percent of cases, as reflected in Figure
9-8. The second enhancement, which has been in §2G2.1 since November 1,1990, is the
enhancement for a defendant's status as the parent, relative, guardian, or person in custody, care,
or supervision of a minor (presently §2G2.1(b)(5)). Although in its early years, its rate of
application varied widely, in recent years it has been applied more consistently, in slightly more
than half of all cases. The third enhancement — for misrepresenting an offender's identity to the
victim or using a computer to solicit or entice the victim (presently, §2G2.1(b)(6)) — was added
in part on November 1, 1997, and in part on November 1, 2000. B y fiscal year 2004, that
enhancement applied in 25.9 percent of production cases, and its rate of application has remained
relatively consistent thereafter.

        Figure 9-9 shows the rates of application for the other three enhancements in the
production guideline, which
became effective November
                                                                       Figure 9-9
1,2004. These                                                   Production Cases:
enhancements — for                          Application of the Specific Offense Characteristics
commission of certain types                                 Fiscal Years 2005-2010
of "sexual acts" or "sexual         Percentage        -•-Distribution     -w-SAM Images -* Sex Act

conduct" (presently,                  100
                                       90
§2G2.1(b)(2)); distribution
                                       80
of the images produced by              70
the offender (presently,               60
§2G2.1(b)(3));and                      SO

production of a sado-
masochistic or violent image
(presently, §2G2.1(b)(4)) —
did not apply in significant
numbers until fiscal year
2006. Although the
                                                     ^ 2005 ailODui£k.USSCTYI».IO.
enhancement for a sexual act

^' The appUcation rate data mcluded in Figures 9-8 and 9-9 refer to the number of cases in which particular specific
offense characteristics have been appHed in a guideline application for one or more counts of conviction in a
particular case. Because multiple production counts of conviction are not "grouped" under USSG §3D 1.2(d) —
unlike non-production counts, which are grouped — there may be multiple guideline applications in a single
production case involving different specific offense characteristics (depending on the counts at issue). I f a guideline
application regarding at least one count in a case involved a particular specific offense characteristic, that case is
reflected in the data in Figures 9-8 and 9-9. However, if a particular specific offense characteristic was applied in
connection with multiple counts in a single case, that case is only reflected once in the analysis.
           There were not more than 50 production cases annually until fiscal year 2000. Thus, the small number of
cases in the earlier years depicted on Figure 9-8 makes comparisons between the earlier years and more recent years
difficult.


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or sexual conduct has applied in a majority of production cases, the other two enhancements (for
distribution and production of sado-masochistic images) have applied in less than half of the
cases.

        E.        CLASSIFICATION OF PRODUCTION OFFENSE BEHAVIOR

        As part of its special coding project of production cases, the Commission examined
certain other types of offenders' behaviors related to both their production offenses and any
related non-production child pornography offenses. The Commission examined the "offense
conduct" sections of presentence reports ("PSRs") in the fiscal year 2010 §2G2.1 cases to enable
meanmgful classifications of production offenders according to such behavior.^^ The
Commission's fmdings allow for classification of production offenders according to their offense
conduct in two ways — first, by the extent of offenders' involvement with the victims of their
production activities; and, second, by the extent of offenders' involvement with child
pomography generally.^^ Such classifications are not intended to be an exhaustive taxonomy of
production offenders; they are used to provide some insight into the types of production
offenders being sentenced in federal court beyond that offered by the data concerning the
specific offense characteristics discussed above in Part D.

                 1.       Extent of Involvement with Victims of Production Offenses

        The Commission examined fiscal year 2010 production cases to determine how often
offenders were physically present with their victims when the production occurred or, instead,
how often offenders caused the production from a remote location (via the Internet through use
of email or a webcam or via cell phones through texting) without being physically present with
the victims. In addition, the Commission examined the cases to determine whether offenders
engaged in, or aided and abetted other offenders in the commission of, sexual contact offenses
against the victims.

        With respect to those offenders who were physically present with their victims, the
Commission examined the cases to determine whether: (1) offenders either themselves engaged
in sexual contact offenses against their victims or aided and abetted other offenders in the
commission of such contact offenses (regardless of whether such contact was memorialized in
child pomography); or (2) offenders filmed their victims engaging in sexually explicit activities
but did not engage in, or aid and abet others in the commission of, any type of sexual contact
offense. With respect to those offenders who were not physically present with their victims, the
Commission examined cases to determine whether: (1) offenders remotely solicited self-
produced sexual images from minors; or (2) offenders remotely aided and abetted other adult




 ^ Seven of the 207 USSG §2G2.1 cases from fiscal year 2010 were excluded from the analysis because of
insufficient documentation. As is true with respect to the Commission's other coding projects based on PSRs, this
coding project is subject to the important limitation that the Commission's data is based only on what was included
in the PSRs. Because some PSRs do not include all relevant information concerning offenders' behavior, the
Commission's findings may be under-inclusive in some respects. See Chapter 6 at 144 n.50.
  Data concerning victim characteristics are discussed below in section F.


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offenders with custody of the children in the commission of sexual contact offenses against the
children.^^

       Figure 9-10 below shows the results of the Commission's analysis of the fiscal year 2010
production cases regarding three types of offense behavior: (1) production offenders who were
physically present with their victims and engaged in contact offense behavior or, if not
physically present, remotely aided and abetted other adult offenders in the commission of contact
offenses against minor victims; (2) production offenders who were physically present with their
victims but did not engage in any contact offense behavior and did not aid or abet others in the
commission of a contact offense;^^ and (3) production offenders who were not physically present
with their victims during the production offense and did not remotely aid and abet others in
sexual contact offenses against minor victims.^*



                                                   Figure 9-10
                                      Production Offender Characteristics:
                                     Physical Presence/Contact Victimization
                                            Fiscal Year 2010 (N=200)
                                                                      Present/Non-




                   SOUIUX: FYIO CW   Hmm^y %»<^    Snimn

       As Figure 9-10 demonstrates, almost three-quarters of production offenders were
physically present with their victims or remotely aided and abetted another adult offender in the
commission of a sexual contact offense against a minor victim.




   Such remote aiding and abetting typically occurred when an offender engaged in a "chat room" or email
exchange with another adult offender and requested that the latter offender produce child pomography with a child
in the latter offender's custody.
   This category includes offenders who surreptitiously recorded their victims {e.g., using a hidden camera) but did
not touch them in a sexual marmer.
  This category includes offenders who solicited still images of self-produced child pomography from minors via
email or text or who recorded sexually explicit conduct of minors who appeared remotely via webcam.


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                  2.       Extent of Involvement with Child Pornography Generally

       The Commission also examined the fiscal year 2010 §2G2.1 cases to determine the extent
to which offenders were involved with child pomography generally. Examination of the cases
revealed three general types of offenders:

        (1)       offenders who memoriahzed their sexual abuse of children in videos or still
                  images for their own sexual gratification but did not otherwise commit child
                  pomography offenses or engage in related conduct (i.e., they did not collect any
                  other child pomography, did not share then- self-produced child pomography with
                  others, and otherwise did not engage in child pomography "communities" such as
                  Intemet chat rooms devoted to child pomography);

        (2)       offenders who self-produced child pomography and added it to their collection of
                  other child pomography but did not share their self-produced images with others
                  or otherwise participate in child pomography communities; and

        (3)       offenders who self-produced child pomography and either shared their self-
                  produced images with others or otherwise participated in child pomography
                  communities (even if they did not share their self-produced images).

        The first type of offender did not possess any other child pomography, did not share his
self-produced images, and did not have any communication with other offenders about child
pomography or child exploitation. The other two types of offenders actively engaged in other
child pomography collecting behaviors in addition to their production offenses; their sexual
interest in children transcended the victims of their own self-produced child pomography. The
distinction between those latter two types of offenders relates to their degree of involvement with
child pomography generally. The second type of offender collected other child pomography but
did not share his self-produced images or communicate with other offenders, while the third t3^e
of offender took additional steps to involve himself in a child pomography community (by
distributing his self-produced images to others or by communicating with other offenders about
child sexual exploitation). The second and third types of offenders engaged in behaviors similar
to non-production child pomography offenders even though they were sentenced under §2G2.1
rather than §2G2.2.^^ The first type of production offender engaged in behavior that is relatively
dissimilar from most §2G2.2 offenders.^^



  Child pomography "communities" are discussed in Chapter 4. See Chapter 4 at 92-99.
   Many USSG §2G2.2 offenders studied by the Commission in its special coding project also may be classified as
type 2 or type 3 offenders because their criminal dangerous sexual behavior uivolved production of child
pomography. See Chapter 7 at 181 (Table 7 - 1 ; noting that 127 of the 1,654 §2G2.2 offenders had also engaged in
production offenses). However, those offenders were sentenced under §2G2.2 ratlier than USSG §2G2.1. See supra
note 23.
^' The Commission's tripartite classification of production offenders reflects a "snapshot" view of offenders based
on the description of their behavior in PSRs. The Commission does not intend to imply that a production offender
who fits within one of the three categories at a given point in time {i.e., at the time of their arrest on the instant
federal offense) would have always remained in that category absent intervention by law enforcement.


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                                                        Figure 9-11
                                           Production Offender Characteristics:
                                           Involvement with ChUd Poiiiography
                                                 Fiscal Year 2010 (N=200)
                               • Only Possessed Setf-Produced Images
                              • Possessed Self-Produced laiages and Othor CP
                               St Distribated Self-Produced Images or Otherwise Panicipated in a CP "Commiiiuty''




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       Figure 9-11 above shows the results of the Commission's special coding project of fiscal
year 2010 §2G2.1 cases with respect to these three categories of production offenders. As Figure
9-11 demonstrates, among the fiscal year 2010 §2G2.1 offenders, there were roughly equal
numbers of the three types of offenders discussed above.

        F.       VICTIM CHARACTERISTICS

        As noted above, a victim's age is a factor that is incorporated into the guideline
calculation in §2G2.1(b)(1). Although this enhancement is divided into two age brackets (less
than 16 years old and less than 12 years old), a substantial number of victims were much younger
than 12 years old.*" In 49 of 197 cases (24.9%) where sufficient documentation of the victims'
ages existed, the victim was five years of age or yoimger.*' In 14 of the 197 cases (7.1%), the
victim was two years of age or younger. Figure 9-12 below includes a complete analysis of the
victims' ages.


   Although USSG §2G2.1(b)(l) does not include an incremental enhancement for very young victims, the
"vulnerable victim" enhancement in subsection (b)(1) of USSG §3A1.1 (Hate Crime Motivation or Vulnerable
Victim) may apply to such victims. See Chapter 2 at 35 (discussing Ninth Circuit cases applying the enhancement
to child pomography cases involving very young victims). However, most courts in production cases involving very
young victims have not applied this enhancement. Of the 49 fiscal year 2010 §2G2.1 cases involving victims under
six years of age, offenders in only three cases (6.1%) received an enhancement under §3A1.1(b)(1) based on a
finding that the victim was a "vulnerable victim."
    This analysis is based on the age of victims when the photographed or fihned abuse first began, as determined
fi-om court documents. In cases where there was more than one victim in a single case, the age of the youngest
victim is reported.


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                                                            Figure 9-12
                                                Production Offense Cliaracteristics:
                                             Age of Youngest Victim at Time of Offense
                                                     Fiscal Year 2010 (N=197)
                                                                                                                            Age 2 or




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                  iliiii-im 1 III
                  XmCZ us S a i l n d B i C o n i B i i n K i a D i a S k . V S S C F Y l O n d F r i O C b i U P a i ^ ^


        In addition to victims' ages, the number of victims per case is a factor incorporated into
the guideline calculation in §2G2.1(d).*^ As Figure 9-13 shows, the majority of cases had a
single victim (122 of 197, or 61.9%).



                                         Figure 9-13
                    Production Offense Characteristics: Number of Victims
                  Cases
                                  Fiscal Year 2010 (N=197)
                    140




                                                                                                                                   1T
                                       One                      Two                     Three                     Four         More than   Unknown.
                                                                                                                                 four      but more
                                                                                                                                            than one




  See supra notes 18 & 19 and accompanying text.


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        The victim-offender relationship also is relevant under §2G2.1(b)(5), as discussed above.
As shown in Figure 9-14 below, a large majority of offenders in fiscal year 2010 production
cases were known to their victims; over two-thirds (68.4%) were related to their victims, were a
family friend, or were a person in a position of trust relative to the victim. Chat room
acquaintances represented 14.3 percent of offenders, but appeared in two distinct forms. Either
the offenders solicited explicit pictures from juveniles in Litemet "chat rooms" or through social
media, or they groomed their victims through social media or chat rooms and then attempted to
meet the victim. Offenders were strangers to their victims in only a small percentage (7.1%) of
cases.



                                                        Figure 9-14
                                            Production Offense Characteristics:
                                               Offender-Victim Relationship
                                                 Fiscal Year 2010(N=196)




           SOUKCE: U S S«iMaa{CoaB>»i«, } O l a i > a t t S h , U S S m n O a i d m o a » U




       Over two-thirds (70.3%o) of production cases involved only female victims in fiscal year
2010; 22.1 percent of cases involved only male victims; and 7.7 percent involved victims of both
genders. Cases with only male victims were more likely to have multiple victims than cases with
only female victims. In fiscal year 2010 production cases, 41.9 percent of cases with only male
victims had multiple victims, while 29.2 percent of cases with only female victims had multiple
victims.




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        G.      CONCLUSION

       The Commission's study of production cases from fiscal year 2010 yields the following
conclusions:

        •       In the same manner as federal non-production cases, the number of federal
                production cases has steadily grown during the past two decades, although such
                cases constituted a very small percentage (0.25%) of the federal criminal docket
                in fiscal year 2010. There were over eight times as many non-production
                prosecutions as production prosecutions in fiscal year 2010.

        •       In fiscal year 2010, the average prison sentence for production offenders was over
                22 years (269.1 months), which represents a near doubling since fiscal 2004, the
                first year after the PROTECT Act (when tlie average sentence was 153.4 months)
                and a four-fold increase since 1992 (when the average prison sentence was 63.5
                months). Average sentences steadily increased during the past two decades as a
                result of several amendments to both the penal statute and sentencing guideline
                governing production cases.

        •       In fiscal year 2010, the vast majority of production offenders sentenced under
                §2G2.1 (83.8%) were convicted under 18 U.S.C. § 2251, which, since the
                PROTECT Act, has carried a mandatory minimum prison sentence of 15 years.

        •       In fiscal year 2010, the average sentence for production offenders was
                approximately twice as long as the average sentence for offenders convicted of
                R/T/D offenses and approximately four times as long as the average sentence for
                offenders convicted only of possession.

        •       Downward variances and departures for reasons other than a defendant's
                substjmtial assistance to the authorities have steadily increased since Booker in
                production cases. In fiscal year 2004, 84.0 percent of production offenders
                received sentences within the applicable guideline ranges. By fiscal year 2010,
                56.8 of production offenders received within range sentences, while 35.9 percent
                received below range sentences (excluding substantial assistance departures); by
                fiscal year 2011, 50.4 percent of production offenders received within range
                sentences, while 38.1 percent received below range sentences (excluding
                substantial assistance departures). In fiscal year 2010, in production cases in
                which a below-range sentence was imposed, the average extent of non-
                government sponsored downward departures and variances was 24.5 percent (or
                an average reduction of 64 months); the average extent of government sponsored
                downward departures and variances (other than for an offender's substantial
                assistance) was 29.1 percent (or an average reduction of 93 months). In fiscal
                year 2011, in production cases in which a below-range sentence was imposed, the
                average extent of non-government sponsored downward departures and variances
                was 20.9 percent (or an average reduction of 62 months); the average extent of
                government sponsored downward departures and variances (other than for an


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      offender's substantial assistance) was 27.6 percent (or an average reduction of 75
      months). As a result of these recent trends, during the past two fiscal years, the
      average sentence in production cases has begun to fall below the average
      guideline minimum for the first time. Previously, from fiscal year 1992 until
      fiscal year 2009, the average sentence was equal to or above the average guideline
      minimum in production cases.

•     Production offenders' characteristics — with respect to average age, gender, race,
      nationality, criminal records, and socio-economic status — closely resemble non-
      production offenders' characteristics. The typical production offender in fiscal
      year 2010 was a white male United States citizen in his early forties who had at
      least some college education and was employed at the time of the offense.
      Although caution should be exercised in drawing conclusions based on the small
      number of production offenders studied, those offenders' reported rate of
      childhood sexual abuse was twice the prevalence rate for the general population
      of males and nearly twice the reported rate for offenders sentenced under the non-
      production guidelines.

•     Nearly four out of five production offenders were in Criminal History Category L
      Of those offenders with criminal histories, however, the vast majority (79.5%)
      had histories of sexual "contacf offenses. Approximately one in four §2G2.1
      offenders received an enhanced sentence under §4B1.5 (Repeat and Dangerous
      Sex Offenses Against Minors).

 •    Victims in production cases were mostly female and prepubescent and knew the
      offenders (as most were relatives, family friends, or persons in a position of trust
      vis-a-vis the victims). Most cases involved only a single known victim.




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           Letter Written by Nicholas Andres Gonzales-Malven




                              EXHIBIT B
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                          Family Letters




                           EXHIBIT C
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             To whom it may concern.
             My name is Angelina Antuna, and 1 am the older sister of Nicholas Gonzales-Malven.

             When 1 became aware of my little brother's situation, I was overcome with extreme shock. Shock,
             because litis was not the character of my brother. He has always been soft spoken, respectful, non-
             confrontational and never had a thought of injuring anyone. Nicholas was never involved in trouble in
             school. Even as an adult, he never so much as was issued a traffic citation. Nicholas, growing up, was a
             very imaginative, caring and sensitive child. He was a typical little boy who played with cars, legos, and
             his favorite, dinosaurs. With 8 years in age between us, Nicholas was my pesky little brother. He,
             however, had the biggest heart, and would smile ear to ear whenever 1 would agree to join in his
             imaginative playtime.

             From the time he was bom, we attended church every Sunday morning and Wednesday night. Nicholas
             joined the Royal Rangers, which is a Boy Scout type of organization through the church. Every
              Wednesday niglit during church service, Nicholas would attend the Royal Rangers' meetings. It wasn't
              necessarily because he wanted to go on the camping trips and outings. Nicholas was in search of a
              Friend. You see, Nicholas was a verj' caring and loving child, and, with those character traits, caitied a
              deep sensitivity which, unfortunately, made him a target of ridicule and bullying. Nicholas was not an
              athletic child, atid attending the small Christian school we did, if you were not an athlete, you were
              shunned by the cliques, bullied, or, if you were lucky, unnoticed entirely. Nicholas was bullied
              relentlessly. I watched his, once joyous lighu begin to dim every time he came homefromschool. I
              watched as he cried to my mother and asked her to pray with him that God would send a friend his way. I
              watched this occur for years until about his Junior year in high school. During that time, Nicholas found
              his voice by joining a debate team. Through that, he gained a mentor in his debate teacher, and friends in
              his teammates. He even had a girlfriend. Finally. God had answered his prayers.

             From that time going forward, Nicholas just started thriving. He got the lead in a school play, enjoyed
             time with hisfriendsand girlfriend, and even developed a close bond with someone who became his best
             friend. After Nicholas graduated high school, he spoke to me about his desire to help people, especially
             children. He wanted to be a mentor to children the same way he was mentored by his debate teacher.
             Nicholas decided he wanted to get his degree and become a teacher. Before he persued his degree in
             education, Nicholas made the decision to join his bestfriendin signing up for the Navy. Shortly after
             graduation, he was off to start his journey in the military.

             The Navy was a struggle for my brother to say the least. Here, this non-athletic young man, who couldn't
             swim, was enlisted in the Navy. But he never gave up, always asking my mother to keep him in her
             prayers. Tlie .struggle to learn how to swim and the physical aspects of the service were nothing he
             couldn't handle though, k was being treated like an outcast due to his non-athleticism and caring, naive,
             sensitive demeanor. Even his bestfriendbegan to shun him. It seemed as though history was repeating
             itself Nicholas was also struggling with a bigger issue. Tlie fact that he was gay, I was thefirstin our
             family in which he confided. He mentioned in our cotiversation of him coming out, that maybe tliis was
             why he was always so dicarded by others. That maybe they knew even when he didn't. Growing up in a
             Christian church and school, we were taught being gay was not of God. So it became a source of fear for
             Nicholas, especially having to come out to the rest of our family. UUimately. him being gay, is what
             caused him to be honorably discharged from the Navy during the time of'Don't ask, don't tell'.

             This .setback, however, led Nicholas to what he called his home for 10 years, Bellingham, Washington.
             Wliile in Washington, Nicholas began to find his stride again. He began to attend community college to
             gain his degree in education, tried to meet people and gain newfriends,tried to gain an understanding of
             who he was as a gay man, and also gained a boyfriend whom with he shared an apartment. Nicholas
             enjoyed hiking, camping,ridingaround town on his bicycle and just viewing nature. He gained a
             community offriendswith whom he shared like interests and intellectual conversations. There were
             common life setbacks throughout the years such as breakups, loss of friendships and financial struggles,
             but through it all, Nicholas remained positive. No matter the situation, Nicholas never focused on the
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             negative. He worked little part-time jobs, such as washing dishes in a pizza parlor, but he wanted to do
             much more for his community. He spoke to me about wanting to found a gay support group. He wanted
             to help individuals such as himself who may be struggling coming to teirns with tlieir sexuality or coming
             out to their families. He said he just had a strong desire to help people. And so he started looking into
             attending Humanity classes. While during that process, he worked at the YMCA and a local daycare. He
             spoke of the kids in his class with fondness. Nicholas enjoyed teaching them and the idea tliat he was
             intricate in their molding and developmenL He was constantly praised by the rest of the teaching staff,
             his superiors and especially the parents of the children. Never was there a negative word spoken of
             Nicholas during his time as a daycare teacher. It was a disappointment to the staff and parents when
             Nicholas decided it was time to come back home to San Antonio, yet it was a pray answered for my
             mother.

             Nicholas was excited to come back home, as we all were as a family. Nicholas planned to continue his
             education at Palo Alto or NW Vista community college, gain employment and become a productive
             member of his community. During the short time he was home, Nicholas gained a boyfriend, recomiecied
             with old friends and gained employment. He was positive his life back home was coming together, and
             optomistic about his ftiture. He was also excited about the fact that he was making new friends and
             feeling accepted. Something Nicholas struggled with for years. Unfortunately, one of those new friends
             did not have Nicholas' best interest at heart.

             Altliough, we as a family have been living in unbelievable pain and tear due to this situation and tlie
             possible outcomes, especially dealing with the media, their false exaggerations to make their story better
             and earlier threats from the community, we fiilly understand that Nicholas must face a consequence.
             However, 1 don't want to believe that my brother finally came home, only to spend his life behind bars. I
             have you in my prayers because I know determining the fate of someone else's life must be a heavy cross
             to bear, and i thank you for taking the time to read my letter and gain a better underetanding of my little
             brother's life and character.


             Sincerely,

             Angelina Antuna
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